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 1   Jeremy V. Richards (SBN 102300)
     Gail S. Greenwood (SBN 169939)
 2   PACHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Blvd., 13th Floor
 3   Los Angeles, California 90067
     Telephone: 310/277-6910
 4   Facsimile: 310/201-0760
     E-mail: jrichards@pszjlaw.com
 5           ggreenwood@pszjlaw.com

 6   Attorneys for Official Committee of Unsecured
     Creditors of Liberty Asset Management Corporation
 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                        LOS ANGELES DIVISION

11   In re:                                                    Case No.: 2:16-bk-13575-TD
12   LIBERTY ASSET MANAGEMENT                                  Chapter 11
     CORPORATION, a California corporation,
13
                                     Debtor.                   STIPULATION RE TURNOVER OF
14                                                             CERTAIN ASSETS
15

16            This Stipulation re Turnover of Certain Assets (the “Stipulation”) is entered into by and

17   among the following: 1) Liberty Asset Management Corporation (“LAMC”) and the Official

18   Committee of Unsecured Creditors for Liberty Asset Management Corporation (the

19   “Committee”), 2) Mel Canyon, LLC (“Mel Canyon”); Golden Field Investment, LLC

20   (“Golden Field”); RH Investments, LLC (“RH Investments”); Lowridge Place, LLC

21   (“Lowridge Place”); 10th Street Santa Monica Project, LLC (“10th Street”), Liberty CMC

22   Corporation (“CMC”), Pacific Sunshine Investments LLC (“Pacific”), Bradbury Furlong LLC

23   (“BF”), 3), Benjamin Kirk, aka Tzu Ping Ko aka Benny Kirk (“Kirk”) and 4), Lucy Gao

24   (“Gao”).

25            1.      Upon entry of an order (the “Order”) by the Bankruptcy Court approving this

26   Stipulation, Gao shall cause the following transactions to occur:

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 1                    a.          Mel Canyon shall transfer by quitclaim deed in favor of LAMC all of its right,

 2   title and interest in and to certain real property commonly known as 201 Mel Canyon Road, Duarte,

 3   California 91010 (the “Duarte Property”).

 4                    b.          Golden Field shall transfer by quitclaim deed in favor of LAMC all of its

 5   right, title and interest in and to that certain vacant lot of real property located in the City of Azusa,

 6   State of California, and identified as APN 8610-022-022 (the “Azusa Property”).

 7                    c.          RH Investment shall transfer by quitclaim deed in favor of LAMC all of its

 8   right, title and interest in and to certain real property commonly known as 1916 Los Padres Drive,

 9   Rowland Heights, California 91748 (the “Rowland Heights Property”).

10                    d.          Lowridge Place shall transfer by quitclaim deed in favor of LAMC all of its

11   right, title and interest in and to certain real property commonly known as 23100 Lowridge Place,

12   Santa Clarita, California (the “Lowridge Property”).

13           2.       Effective upon entry of the Order, Gao unconditionally assigns to LAMC all of her

14   rights and remedies to receive a consulting fee (the “Consulting Fee”) of $1 million pursuant to that

15   certain Hotel Consulting Agreement (the “Consulting Agreement”) by and between SCG America

16   Group (“SCG”) and Gao, dated July 31, 2014. Gao agrees to take actions reasonably necessary for

17   the Debtor to collect the Consulting Fee including executing one or more letters or agreements

18   directing and instructing SCG to make payment of the Consulting Fee directly to the Debtor and

19   acknowledging that Liberty is entitled to payment of the same.

20           3.       Effective upon entry of the Order, Gao shall deliver to LAMC one or more original

21   share certificates evidencing her legal ownership of ten million (10,000,000) shares of common

22   stock in California Internal Bank N.A., formerly known as Saigon National Bank (the “Gao

23   Shares”), and agrees to take actions reasonably necessary to cause legal title in and to the Gao Shares

24   to be transferred to, and vested in LAMC. Further, within ten (10) days of entry of the Order, Gao

25   shall deliver (if available) all original and copies of share certificates or other documents in her

26   possession representing shares of common stock in California National Bank N.A., formerly known

27   as Saigon National Bank (the “Tsang Shares”), assigned to Gao by Steven Tsang pursuant to

28   instrument dated July 17, 2015. Further, Gao agrees to execute reasonably requested documentation

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 1   to transfer legal title, ownership and control in and to the Tsang Shares to be transferred to, and

 2   vested in LAMC.

 3           4.       LAMC understands that the assets being transferred to LAMC pursuant to

 4   paragraphs 1 through 3, above (collectively, the “Transferred Assets”) are being transferred in their

 5   “as is” where is condition without representation or warranty of any type whatsoever.

 6           5.       Effective upon entry of the Order, Gao, on behalf of herself and any and all entities

 7   owned and controlled, or purportedly owned and controlled by Gao (collectively, the “Gao

 8   Entities”), including, without limitation, Mel Canyon, Golden Field, RH Investments, Lowridge

 9   Place, 10th Street, CMC, Pacific and BF, unconditionally releases and relinquishes any and all claims

10   that they have, or may have, in and to the Transferred Assets, except for claims arising prior to the

11   transfer of the Transferred Assets for reimbursement, indemnity and contribution for any legal fees

12   and costs incurred by Gao in connection with her efforts to secure or preserve or protect the

13   Transferred Assets which Liberty acknowledges and agrees can be filed as claims in the Liberty

14   Bankruptcy Case. Notwithstanding the foregoing, the parties agree that Liberty retains all rights and

15   defenses to any claims asserted by Gao based on the foregoing.

16           6.       Upon entry of the Order, Gao releases and relinquishes any right, title or interest she

17   has or may have, direct or indirect, in and to the Transferred Assets and the real property commonly

18   known as: 119 Furlong Lane, Bradbury, California; 1020 Baldwin Avenue/652 Fairview Avenue,

19   Arcadia, CA 91007; 415 Huntington Drive, San Marino, CA 91108; and 1122 10TH Street, Santa

20   Monica, CA, and, further, irrevocably assigns any claims and causes of action related to any of the

21   foregoing properties, which any of the Gao entities may hold, against third parties to LAMC.

22           7.       Upon entry of the Order, Kirk releases and relinquishes any right, title or interest he

23   has or may have, direct or indirect, in and to the Transferred Assets and the real property commonly

24   known as: 119 Furlong Lane, Bradbury, California; 1020 Baldwin Avenue/652 Fairview Avenue,

25   Arcadia, CA 91007; 415 Huntington Drive, San Marino, CA 91108; and 1122 10TH Street, Santa

26   Monica, CA, and, further, irrevocably assigns any claims and causes of action related to any of the

27   foregoing properties, which Kirk or any of his controlled entities may hold, against third parties to

28   LAMC. Notwithstanding the forgoing, Kirk retains claims arising prior to the transfer of the

                                                    3
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 1   Transferred Assets and/or the assets identified in this paragraph for reimbursement, indemnity and

 2   contribution for any legal fees and costs incurred by Kirk in connection with his efforts, if any, to

 3   secure or preserve or protect such assets which Liberty and the Committee acknowledges and agree

 4   may be filed as claims in the Liberty Bankruptcy Case. Notwithstanding the foregoing, the parties

 5   agree that Liberty and the Committee retain all rights and defenses to any claims asserted by Kirk

 6   based on the foregoing.

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             8.       Upon entry of the Order, the Committee shall cause to be dismissed, without
 8
     prejudice, the following adversary proceedings pending in the above-captioned bankruptcy case:
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     2:16-ap-01170-TD; 2:16-ap-01171-TD; 2:16-ap-01142-TD; and 2:16-ap-01143-TD (the
10
     “Adversaries”).
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             9.       In entering into this Stipulation, neither the Debtor nor the Committee are
12
     relinquishing or releasing any claims they have, or may have against Gao and/or any of the Gao
13
     Entities, except that, in consideration of paragraph 6 above, the Debtor and the Committee relinquish
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     the right to seek turnover of the Transferred Assets or the direct or indirect ownership therein against
15
     Gao and/or any of the Gao Entities.
16
             10.      Notwithstanding anything contained herein, by entering into this stipulation and by
17
     undertaking and taking the actions provided for herein, neither Gao nor Kirk is admitting anything
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     related to the Adversaries or the Transferred Assets and nothing contained herein is a waiver of any
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     rights or defenses including, but not limited to, as to any other matters related to LAMC case and
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     any adversary proceedings commenced or to be commenced in connection with the same.
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                                                          Eve Karasi
  5                                                       Counsel to        Asset Management Corporation

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             ~J., 2016
        Dated:                                      PACHULSKI ST            ZTEHL &JONES L,LP
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  9                                                          Gail S. Greenwood

 is ~                                                     Counsel for the Official Committee of Unsecured
                                                          Creditors
 11
 12     Dated: August ~,2016                        COSTELI.,& CORNELIUS LAW CORPORATION

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                                                    By:
 I4                                                          Alexandre I. Cornelius

 15                                                       Counsel for Lucy Gao

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        Dated; August ~,2016                        MEL CANYON,LLC
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 22     Dated: August ~,2016                        GOLDEN MELD INVESTMENT,LI.0

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 2        Dated: August ~,2016                        LEVENE,NEALE,BENDER,Y00 &BRILL L.L.P.
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                                                      By:
 4                                                          David B. Golubchik
                                                            Eve Karasik
 S                                                          Counsel to Liberty Asset Management Corporation
 6
          Dated: August ~,2016                        FACHULSKI STANG ZIEHL &JONES LLP

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                                                                   Jeremy V. Richards
 9                                                                 Gail S. Greenwood
10                                                          Counsel for the Official Committee of Unsecured
                                                            Creditors
11
12       Dated: August ~,2016

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17       Dated: August ,~~, 2016                      MEL CANYON,

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 6       Dated: August         ,2016                 LOWRIDGE PLACE,
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     I   Dated: August ~, 2016                       10TH STREET                          ,LLC

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 1   Dated: August _,2016                         RH INVESTMENTS,LLC

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 6                                                   By:
         Dated: August _,2016                        LAW OFFICES OP DAVID W. MEADOWS
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10                                                         David W. Meadows
                                                           Counsel to Benjamin Kirk
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1' Dated: August ~,2016                              L.UCY GAO

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                                                         David W. Meadows
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): STIPULATION RE TURNOVER OF CERTAIN
ASSETS will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 7, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
September 7, 2016, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 7, 2016, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

PERSONAL DELIVERY
Honorable Thomas B. Donovan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1352
Los Angeles, CA 90012


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 7, 2016                                Myra Kulick                                 /s/ Myra Kulick
 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       Kyra E Andrassy kandrassy@swelawfirm.com,
        csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
       Alexandre I Cornelius aicornelius@costell-law.com, ssaad@costell-law.com;mharris@costell-
        law.com;jstambaugh@costell-law.com;ladelson@costell-law.com;jlcostell@costell-law.com
       Lei Lei Wang Ekvall lekvall@swelawfirm.com,
        csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
       Julie A Esposito cesarjuliem@yahoo.com, sensberg@aol.com
       John D Fiero jfiero@pszjlaw.com, ocarpio@pszjlaw.com
       John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
       Barry S Glaser bglaser@swesq.com, erhee@swesq.com
       David B Golubchik dbg@lnbyb.com, dbg@ecf.inforuptcy.com
       Gail S Greenwood ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
       David S Henshaw david@henshawlaw.com, info@henshawlaw.com
       Eve H Karasik ehk@lnbyb.com
       Jeffrey S Kwong jsk@lnbyb.com, jsk@ecf.inforuptcy.com
       Ian Landsberg ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-
        law.com;diana@landsberg-law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
       Robert S Lawrence rlawrence@callahan-law.com, mwalters@callahan-law.com
       Patricia H Lyon phlyon@frenchlyontang.com, mwoodward@frenchlyontang.com
       David W. Meadows david@davidwmeadowslaw.com
       Charles Alex Naegele alex@canlawcorp.com, alexnaegelelaw@gmail.com
       Victoria Newmark vnewmark@pszjlaw.com
       Queenie K Ng queenie.k.ng@usdoj.gov
       Laura Palazzolo laura.palazzolo@berliner.com, sabina.hall@berliner.com
       Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
       Mark Romeo romeolaw@msn.com
       Robert M Saunders rsaunders@pszjlaw.com, rsaunders@pszjlaw.com
       Lindsey L Smith lls@lnbyb.com, lls@ecf.inforuptcy.com
       David A Trinh dtrinh@trinhlawfirm.com, kim@trinhlawfirm.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       James S Yan jsyan@msn.com

2. SERVED BY UNITED STATES MAIL:


 AA 166 Geary LLC                                  Alan D. and Julianne F. Nolet                       Benjamin Kirk
 Attn: Reuben Robin                                2400 Grove Blvd.                                    c/o David Meadows, Esq.
 449 S. Beverly Drive                              Austin, TX 78741                                    1801 Century Park East, Suite 1235
 Beverly Hills, CA 90212                                                                               Los Angeles, CA 90067



 Block 3 Development Partners LLC                  David Trinh                                         East West Bank
 4 Embarcadero Center, Ste. 3300                   Trinh Law                                           Attn: Risk Operations Dept.
 San Francisco, CA 94111                           99 N 1st St, Ste 200                                9500 Flair Drive, 4th Floor
                                                   San Jose, CA 95113                                  El Monte, CA 91731




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 First American Title Company                      Helena Chang Cosman                                 Lucy Gao
 Attn: Corporate Service Co.                       3579 E. Foothill Blvd., Ste. 621                    Attn: Robert Lisnow, Esq.
 2710 Gateway Oaks Drive, Suite 150N               Pasadena, CA 91107                                  10866 Wilshire Blvd., Suite 400
 Sacramento, CA 95833                                                                                  Los Angeles, CA 95833



 Margaret Chiu                                     Mega Bank                                           Northern California Mortgage Fund VII
 935 S. San Gabriel Blvd.                          Attn: Elsie Chow                                    Attn: Mark Romeo, Esq.
 San Gabriel, CA 91776                             Senior Vice President                               Law Offices of Mark J. Romeo
                                                   245 West Valley Blvd.                               235 Montgomery St., Ste. 400
                                                   San Gabriel, CA 91776-3737                          San Francisco, CA 94104


 Samantha Galapin                                  Scott Whitman                                       Sincere Escrow
 4708 Merced Ave.                                  Scott L. Whitman, Inc.                              Attn: Margaret Chiu
 Baldwin Park, CA 91706                            5670 Wilshire Blvd., Ste. 2170                      935 S. San Gabriel Blvd.
                                                   Los Angeles, CA 90036                               San Gabriel, CA 91776



 SJ 10177 LLC                                      Tsai Luan Ho                                        Tsai Luan Ho
 5150 El Camino Real #B-23                         126 Atherton Ave.                                   Attn: George Eshoo
 Los Altos, CA 94022                               Atherton, CA 94027                                  Law Offices of George P. Eshoo
                                                                                                       702 Marshall St., Suite 500
                                                                                                       Redwood City, CA 94063


 Vanessa Lavendera
 f/k/a Vanessa Van Holland
 13017 Falcon Pl
 Chino, CA 91710-3805




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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